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                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF ILLINOIS

LLOYD SHOBE,                                      )
                                                  )
           Plaintiff,                             )
                                                  )       Case No.:
v.                                                )
                                                  )
CHARLES B. WILLIAMS and COAL                      )       State Court Cause No.: 18-L-0671
BRANCH FARMS, LLC,                                )
                                                  )
           Defendants.                            )       JURY TRIAL DEMANDED


                                       NOTICE OF REMOVAL

           Come now defendants Charles B. Williams (“Williams”) and Coal Branch Farms, LLC

(“Coal Branch Farms”), and hereby files this Notice of Removal of the above-captioned cause to

the United States District Court for the Southern District of Illinois pursuant to 28 U.S.C. §§

1332 and 1446, and for their grounds, respectfully state as follows:

           1.      On or about November 6, 2018, defendant Coal Branch Farms was served with

Summons and a two-count Complaint filed in the Circuit Court of St. Clair County, Illinois,

seeking damages for personal injuries arising out of a motor vehicle accident in East St. Louis,

Illinois. See Exhibit A.

           2.      This Court has subject matter jurisdiction over this case under 28 U.S.C. § 1332

in that:

                   (a)    Plaintiff is and was a citizen and domiciliary of the State of Illinois at all
                          relevant times.

                   (b)    Defendant Williams is and was a citizen and domiciliary of the State of
                          Missouri at all relevant times.

                   (c)    Defendant Coal Branch Farms is a Missouri limited liability company
                          having its principal place of business in Missouri.



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               (d)      Therefore, complete diversity exists among the parties to this case.

               (e)      The matter in controversy exceeds the sum or value of $75,000, exclusive
                        of interest and costs, in that:

                       i.    Plaintiff has expressly demanded $85,000.00 to settle this case See
                             Exhibit B.

                     ii.     The Complaint seeks damages for the plaintiff’s suffering from
                             injuries of a personal nature, including but not limited to injuries to
                             his neck, back and shoulder that required him to hire doctor and
                             hospital services to cure himself. See Ex. A, ¶ 8.

                     iii.    Further, the Complaint demands judgment for the plaintiff in excess
                             of $50,000.00. See Ex. A.

                     iv.     Together, the settlement demand, Complaint allegations, and prayer
                             for relief make it plain that plaintiff intends to seek more than
                             $75,000.00 in this case.

       3.      Additionally, removal is proper pursuant to 28 U.S.C. § 1446 in that defendants

have filed this Notice of Removal within thirty days after service of the Summons and

Complaint, and defendants have filed a copy of the Notice with the Clerk of the State Court and

given notice thereof to all adverse parties.

       WHEREFORE, defendants Williams and Coal Branch Farms pray that an Order be

entered herein, causing cause No. 18-L-0671 of the Circuit Court of St. Clair County, Illinois to

be removed to this Court for further proceedings, and that this Court take jurisdiction herein and

make such further orders as may be proper under the circumstances.




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                                             Respectfully submitted,

                                             EVANS & DIXON, L.L.C.

                                             /s/ David C. Berwin
                                             David C. Berwin (#06281639)
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                                             Attorneys for defendants



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of this document was filed electronically with the Clerk of the
Court to be served on all parties of record by operation of the Court’s electronic filing system
and mailed and emailed to Keith Short (keith@siltrial.com) and Jack Daugherty
(jack@siltrial.com), 325 Market St., Alton, IL, 62002 on this 5th day of December, 2018.


                                               /s/ Dave C. Berwin

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